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To: Andris Pukke

CC: Counsel and Pro Se Parties

From: Law Clerk

Subject: In re Sanctuary Belize, 18-cv-3309 PJM




Dear Mr. Pukke:

The Judge asks me to once again remind you that you are not to email solely the Court’s Law

Clerks but that you must simultaneously copy all Counsel and Pro Se Parties of record in your

correspondence with the Court. The Judge has also asked me to advise you that Chambers will no

longer respond to emails from you (or any other party) that do not copy all applicable parties.

Further, as previously stated in an October 23, 2019 email, the Judge advises you that you, not

Chambers, are responsible for checking the status of your pleadings with the Clerk’s Office of the

United States District Court for the District of Maryland.




Best,

[signature of law clerk]




CC: Court File
